
674 S.E.2d 141 (2009)
STATE of North Carolina
v.
Chad Elliott OXENDINE and
Kimberly Locklear.
No. 501P08.
Supreme Court of North Carolina.
February 5, 2009.
Charlesena Walker, Assistant Appellate Defender, for Oxendine.
Buren Shields, III, Special Deputy Attorney General, Matthew D. Wunsche, Assistant Appellate Defender, Kristy M. Newton, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 12th day of November 2008 by Defendant (Oxendine) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
